Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 1 of 50 PageID #: 33413




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE



                                                    :
  JAZZ PHARMACEUTICALS, INC.,                       :
                     Plaintiff,                     :
                      v.                            :    C.A. No. 21-691-GBW
  AVADEL CNS PHARMACEUTICALS, LLC,                  :
                    Defendant.                      :
                                                    :
                                                    :
  JAZZ PHARMACEUTICALS, INC., et al.,               :
                     Plaintiffs,                    :
                      v.                            :    C.A. No. 21-1138-GBW
  AVADEL CNS PHARMACEUTICALS, LLC,                  :
                    Defendant.                      :
                                                    :
                                                    :
  JAZZ PHARMACEUTICALS, INC., et al.,               :
                     Plaintiffs,                    :
                      v.                            :    C.A. No. 21-1594-GBW
  AVADEL CNS PHARMACEUTICALS, LLC,                  :
                    Defendant.                      :
                                                    :



                  DECLARATION OF MOHAN RAO, PH.D.



                                   Highly Confidential
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 2 of 50 PageID #: 33414




    Contents
    I    INTRODUCTION                                                                      3

    II   ASSIGNMENT                                                                         4

    III THE MARKETED OXYBATE DRUG PRODUCTS                                                 5

    IV JAZZ HAS NOT DEMONSTRATED THAT IT WILL BE IR-
         REPARABLY HARMED BY SALES OF LUMRYZ                                                8
         A   Jazz Has Accepted Compensation in Exchange for Allowing Products
             that Compete with XYREM and XYWAV . . . . . . . . . . . . . . .                8
         B   Jazz Does Not Identify or Address Known Sources of Lost Sales and/or
             Price Erosion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    9

    V    CONCLUSION                                                                        13




                                                2
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 3 of 50 PageID #: 33415



    Highly Confidential                                                                   3

    I    INTRODUCTION
            1. I am an economist and the Chief Executive Officer of Epsilon Economics.
    I specialize in intellectual property and antitrust economics, with an emphasis on life
    sciences and technology. I was previously a professor at UCLA and Northwestern
    University and a Teaching Fellow at Harvard University. I was appointed as the first
    “Executive in Residence” — a recognized leader in the technology community — by
    the McCormick College of Engineering at Northwestern University. I also am the
    Chief Executive Officer of Expression Therapeutics Inc., a biotechnology company
    based in Atlanta that is focused on developing gene therapies for hematology and
    oncology.
            2. I have a Bachelor of Science in Engineering from the University of Michigan,
    a pre-doctoral fellowship from Harvard University, and a Ph.D. from the University of
    Colorado. I have taught courses in finance, statistics, game theory, and competition
    policy and have written on these topics in academic and professional publications.
    I am an author of the chapter on “Econometric Analysis” in the Litigation Services
    Handbook, “Innovation Markets” in Market Definition in Antitrust: Theory and Case
    Studies, and “Valuing Intellectual Property in Licensing Transactions” in the Li-
    censing Journal. I taught advanced courses on intellectual property valuation and
    transactions — with an emphasis on pharmaceuticals — at the Licensing Executives
    Society (LES), the leading professional organization for IP valuation and licensing. I
    developed the course “Advanced Valuation Skills” in the Professional Development
    Series of LES.
            3. I serve on the Board of Directors of the Children’s Hospital of Chicago,
    one of the leading pediatric medical centers in the world, and the Stanley Manne
    Children’s Research Institute, a premier pediatric research center.
            4. I have served as an expert witness in litigation and as a consultant in valu-
    ation, licensing, and strategy engagements to several pharmaceutical, biotechnology,
    and medical devices companies. I have performed economic and damages analyses
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 4 of 50 PageID #: 33416



    Highly Confidential                                                                    4

    as an economics expert in a wide range of pharmaceutical matters. I have evaluated
    numerous pharmaceutical products, including those in early stages of clinical trials
    and those that have been in the market for a number of years. In 2018, IAM, the
    publisher of The World’s Leading Patent Professionals has described me as “among
    the foremost experts when it comes to pharmaceutical economics.”
            5. I am a member of the American Economic Association, the American So-
    ciety of Gene and Cell Therapy, IEEE, and the Licensing Executives Society. I served
    as the Chair of the Valuation Committee of the Licensing Executives Society. A copy
    of my curriculum vitae is attached as Tab 1.
            6. Epsilon Economics bills $1,195 per hour for my work on this matter. I
    have also been assisted by my team at Epsilon Economics.



    II     ASSIGNMENT
            7. I have been asked by Morrison & Foerster and Latham & Watkins LLP,
    counsel to Avadel CNS Pharmaceuticals, LLC (“Avadel”) to assess the assertions
    made by Jazz Pharmaceuticals, Inc. and Jazz Pharmaceuticals Ireland Limited (col-
    lectively, “Jazz”) that Jazz will be irreparably harmed as a result of Avadel’s infringe-
    ment of claim 24 of Jazz’s U.S. Patent 11,147,782 (the “’782 patent”) through the
    sale of LUMRYZ.
            8. In conducting my analysis, members of my team and I have reviewed vari-
    ous documents in this matter, including Jazz’s injunction motion, pleadings, economic
    and financial information, and publicly available information. A list of materials that
    I considered in forming the opinions set forth in this Declaration is attached as Tab 2.
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 5 of 50 PageID #: 33417



    Highly Confidential                                                                        5

    III      THE MARKETED OXYBATE DRUG PROD-
             UCTS
            9. Jazz markets two branded oxybate drug products: XYREM and XYWAV.
    XYREM (sodium oxybate) is an oral solution that was approved by the Food and
    Drug Administration (“FDA”) in 2002 for the treatment of cataplexy in adults with
    narcolepsy.1 XYREM was additionally approved for the treatment of excessive day-
    time sleepiness (“EDS”) in adults with narcolepsy in 2005 and for the treatment of
    cataplexy and EDS in children with narcolepsy in 2018.2 XYREM is taken twice
    nightly, first at bedtime, and then again 2.5 to 4 hours later.3 XYREM revenues
    totaled $1.27 billion in 2021, $1.02 billion in 2022, and $0.57 billion in 2023.4
          10. To date, ten companies have filed an Abbreviated New Drug Application
    (“ANDA”) with the FDA seeking to launch generic versions of XYREM.5 Four of
    those ANDAs (from Hikma, Ohm Labs, Amneal, and SpecGx/Mallinckrodt) have
    been tentatively approved, and Jazz expects that the remaining six will receive ap-
    proval as well.6 Jazz has entered into settlement agreements with each of these ten
    generic entrants.7 As a result of these settlements, two authorized generic XYREM
      1
         XYREM Label, July 2002, <www.fda.gov>.
      2
         XYREM FDA Approved Labeling Text dated 11/18/05, <www.fda.gov>; XYREM Label, Oc-
    tober 2018, <www.fda.gov>.
       3
         XYREM Label, April 2023, <www.fda.gov>.
       4
         Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 83.
       5
         Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 35.
       6
         FDA Website, <www.fda.gov>; Jazz Pharmaceuticals, Form 10-K for fiscal year ended Decem-
    ber 31, 2023, page 35.




                                                                                                :
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 6 of 50 PageID #: 33418



    Highly Confidential                                                                               6

    products are now on the market: Hikma launched in January 2023 and Amneal
    launched in July 2023.8 Authorized generics are permitted to be marketed under
    the branded drug’s New Drug Application (“NDA”), unlike generic drugs, which are
    marketed through an ANDA.9 Authorized generics are identical to the brand-name
    drug in all but labeling (whereas generics can be “bioequivalent”, but not identical).10
    As part of its settlement agreement with Jazz, Hikma has the right to launch its own
    generic XYREM if it discontinues sales of its authorized generic, but has elected not
    to do so.11
             11. Jazz also granted Lupin and Par the right to launch authorized generics as
    well, though neither has elected to do so to date.12 The earliest generic entrants that
    are not authorized generics are expected in December 31, 2025, when the Jazz set-
    tlements with Amneal, Par, Lupin, and six other generic entrants have been granted
    the right to launch their own generic versions of XYREM.13
             12. XYWAV (calcium, magnesium, potassium, and sodium oxybate) is an oral
    solution that was approved by the FDA in 2020 for the treatment of cataplexy or
    EDS in adults and children with narcolepsy.14 XYWAV was additionally approved



                                                                    ; Three Others: Jazz Pharmaceu-
    ticals, Form 10-K for fiscal year ended December 31, 2023, page 48. See also, Expert Report of

                                                           ®
    Christine S. Meyer, Ph.D., October 16, 2023, paragraph 73.
        8
          “Amneal Launches Authorized Generic for Xyrem (sodium oxybate) and Receives FDA Ap-
    proval for Five Complex Generics in the Second Quarter,” Amneal Press Release, July 3, 2023; Jazz
    Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 35.
        9
          “FDA List of Authorized Generic Drugs,” U.S. Food and Drug Administration, April 11, 2024.
       10
          “FDA List of Authorized Generic Drugs,” U.S. Food and Drug Administration, April 11, 2024.
       11
          Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 35.
       12
          Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 35.
       13
          I understand that Amneal, Par, Lupin, and the six other generic entrants may launch earlier
    in the event that Hikma launches its own generic. Jazz Pharmaceuticals, Form 10-K for fiscal year
    ended December 31, 2023, pages 35-36; Trial Transcript, Jazz v. Avadel, February 27, 2024, page 603
    (Dr. Rainey testified that “Q: The trigger for the second period is the entry of multisource generic
    Xyrem, correct? A: Yes, that’s the change in competitive conditions. Q: “Multisource generics”
    means not just the authorized generic that is actually a product made by Jazz, but also generics
    made by companies other than Jazz; is that right? A: Yes.”).

      14
           <www.jazzpharma.com>; XYWAV Label, February 2021, <www.fda.gov>.
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 7 of 50 PageID #: 33419



    Highly Confidential                                                                          7

    for the treatment of idiopathic hypersomnia (“IH”) in August 2021.15 Like XYREM,
    XYWAV is taken twice nightly, first at bedtime, and then again 2.5 to 4 hours later
    for the treatment of narcolepsy.16 I understand that XYWAV contains 92 percent less
    sodium than XYREM.17 XYWAV revenues totaled $0.54 billion in 2021, $0.96 billion
    in 2022, and $1.27 billion in 2023.18
           13. There are not currently any generic (authorized generic or otherwise) ver-
    sions of XYWAV available.19 However, I understand that two ANDAs for generic
    XYWAV have been filed: from Lupin in June 2021 and Teva in February 2023, with
    Lupin’s ANDA receiving tentative approval in October 2023.20
           14. Avadel’s LUMRYZ (sodium oxybate) is an extended-release oral suspension
    that was approved by the FDA in May 2023 for the treatment of EDS and cataplexy
    in adults with narcolepsy.21 Avadel launched LUMRYZ in early June 2023.22 Unlike
    the other marketed oxybate drugs, LUMRYZ is taken once nightly for the treatment
    of EDS and cataplexy and does not require a second dose.23 From its launch in June
    2023 through the end of year 2023, Avadel reported $28 million in LUMRYZ net
    sales.24
       15
          XYWAV Label, August 2021, <www.fda.gov>. See also, “FDA Grants First of its Kind In-
    dication for Chronic Sleep Disorder Treatment” U.S. Food and Drug Administration, August 12,
    2021.
       16
          XYWAV Label, April 2023, <www.fda.gov>. For the IH indication, XYWAV can be taken twice
    nightly or once nightly. XYWAV Label, April 2023, <www.fda.gov>.
       17
          Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, pages 5-6.
       18
          Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 83.
       19
          FDA Website, <www.fda.gov>.
       20
          Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 36; “Lupin
    Receives Tentative Approval from U.S. FDA for Calcium, Magnesium, Potassium, and Sodium
    Oxybates Oral Solution,” Lupin Limited, October 13, 2023.
       21
          Lumryz NDA Approval Letter, U.S. Food and Drug Administration, May 1, 2023; LUMRYZ
    Label, May 2023, <www.fda.gov>.
       22
          “Avadel Pharmaceuticals Announces Strong LUMRYZ Launch Performance and Provides Pre-
    liminary Fourth Quarter and Full Year 2023 Financial Highlights,” Avadel Press Release, January
    8, 2024.
       23
          LUMRYZ Label, May 2023, <www.fda.gov>; Trial Transcript, Jazz v. Avadel, February 28,
    2024, pages 635-637 (testimony of Dr. Corser, Avadel’s expert in sleep disorders).
       24
          “Avadel Pharmaceuticals Announces Strong LUMRYZ Launch Performance and Provides Pre-
    liminary Fourth Quarter and Full Year 2023 Financial Highlights,” Avadel Press Release, January
    8, 2024.
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 8 of 50 PageID #: 33420



    Highly Confidential                                                                              8

    IV       JAZZ HAS NOT DEMONSTRATED THAT
             IT WILL BE IRREPARABLY HARMED BY
             SALES OF LUMRYZ
           15. I understand that irreparable harm refers to an injury that cannot be
    adequately compensated or remedied by any monetary award. I have reviewed Jazz’s
    assertions that it will be irreparably harmed by sales of LUMRYZ. In my opinion,
    Jazz’s assertions are not supported.


    A      Jazz Has Accepted Compensation in Exchange for Allow-
           ing Products that Compete with XYREM and XYWAV

           16. Jazz’s assertion that monetary compensation for LUMRYZ’s competition
    with XYREM and XYWAV is insufficient to compensate Jazz is inconsistent with its
    actual conduct in allowing other competing products to enter the market, namely,
    generic versions of XYREM. Jazz’s ten settlement agreements with generic XYREM
    manufacturers show that Jazz is willing to license competitive oxybate products in
    return for financial benefits —
                                          and later in 2023 as the sole supplier for authorized
    generic oxybate products.                                                                Jazz has
    entered into settlement agreements allowing for the market entry of oxybate products
    that Jazz identifies as competitive threats to XYREM and XYWAV.25


           For each of these licenses, Jazz willingly accepted a form of compensation and
    in exchange allowed a competing oxybate product on the market, even though Jazz
      25
        Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2022, page 37 (“We expect
    that the approval and launch of the Hikma AG Product, another AG Product or other generic version
    of Xyrem and the approval and launch of any other sodium oxybate product (including Avadel’s
    [Lumryz]) or alternative product that treats narcolepsy could have a material adverse effect on our
    sales of Xywav and Xyrem.”).
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 9 of 50 PageID #: 33421



    Highly Confidential                                                                                   9

    recognized that the competing generic products would cause both lost sales and price
    erosion.
           17. Jazz’s behavior with respect to generic filers on XYREM contradicts its
    current argument that the competition caused by LUMRYZ is non-compensable and
    that Jazz would not be willing to accept a royalty to compensate for Avadel’s in-
    fringement of claim 24 of the ’782 patent.


    B      Jazz Does Not Identify or Address Known Sources of Lost
           Sales and/or Price Erosion

           18. In support of its injunction request, Jazz and Mr. Honerkamp assert that
    LUMRYZ is causing Jazz lost sales and price erosion.26 But Jazz does not address
    other known sources of lost sales and price erosion that Jazz has publicly described
    elsewhere, including most notably the multiple XYREM authorized generics that Jazz
    licensed, which Jazz admits are causing lost sales and price erosion.
           19. Although Jazz points to switching data indicating discontinued XYREM
    and XYWAV prescriptions, neither Jazz nor Mr. Honerkamp addresses whether those
    patients would have discontinued Jazz’s drug products regardless of LUMRYZ’s avail-
    ability.27 I understand that patients are known to discontinue oxybate drugs.28
           20. Neither Jazz nor Mr. Honerkamp addresses the fact that XYWAV sales
    have actually continued to grow following LUMRYZ’s launch (see Tab 3). Indeed,
    during a recent May 1, 2024 Jazz Earnings Call, Jazz identified that XYWAV was
    a “key growth driver” and that “Xywav revenues increased 14% year-over-year rein-
      26
         See, for example, Plaintiffs’ Opening Brief in Support of Motion for a Permanent Injunction and
    for and Ongoing Royalty, Jazz v. Avadel, April 12, 2024, page 1, Declaration of P.J. Honerkamp,
    April 12, 2024, paragraphs 22, 31-33.
      27
         See, for example, Plaintiffs’ Opening Brief in Support of Motion for a Permanent Injunction and
    for and Ongoing Royalty, Jazz v. Avadel, April 12, 2024, pages 4-5; Declaration of P.J. Honerkamp,
    April 12, 2024, paragraphs 24-26.
      28
         Trial Transcript, Jazz v. Avadel, February 27, 2024, page 505 (Greg Divis, Chief Executive
    Officer of Avadel, testified that “we know that roughly half [of twice-daily oxybate users] discontinued
    after starting within the first year.”); “Jazz BASES DTC Report,” ZS Associates Presentation to
    Jazz, September 17, 2020, JPION00082449, slide 31.
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 10 of 50 PageID #: 33422



    Highly Confidential                                                                      10

    forcing our confidence in its trajectory and durability.”29 Jazz’s President and Chief
    Operating Officer, Renée Galá, further represented during that May 1, 2024 call that
    Jazz “remain[s] confident in the growth and durability of Xywav” and that Jazz “con-
    tinue[s] to expect Xywav to remain the oxybate of choice, including the number one
    treatment for narcolepsy.”30
           21. Jazz and Mr. Honerkamp similarly fail to include, discuss, or explain Jazz’s
    numerous public statements that it expects to lose sales as a result of both authorized
    generic versions of XYREM and due to the entry of multi-source generic versions of
    XYREM. For example:

           In the future, we expect our oxybate products to continue to face competition
           from generic versions of high-sodium oxybate pursuant to settlement agree-
           ments we entered into with multiple ANDA filers.. . . Generic competition can
           decrease the net prices at which branded products, such as Xywav and Xyrem
           are sold.31



           We face substantial . . . competition from generic drugs.32



           22. Further, Jazz’s price erosion argument similarly fails to reflect that Jazz
    admits that price erosion is occurring and will occur due to the effects of the two
    authorized generic XYREM products that Jazz has already allowed onto the market,
    the effect of two additional authorized generics that could launch, and the effect of
    the ten generic XYREM products that could launch as early as 2026. For example:

           [S]ince January 2023 our oxybate products have faced competition from an
           AG version of high-sodium oxybate pursuant to a settlement agreement we en-
           tered into with an abbreviated new drug application, or ANDA, filer, and since
      29
         Jazz Pharmaceuticals Q1 2024 Earnings Call Transcript, May 1, 2024.
      30
         Jazz Pharmaceuticals Q1 2024 Earnings Call Transcript, May 1, 2024.
      31
         Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 80.
      32
         Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 3.
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 11 of 50 PageID #: 33423



    Highly Confidential                                                                      11

           July 2023, an additional AG version of high-sodium oxybate from a volume-
           limited ANDA filer. Collectively, these AG version [sic] of high-sodium oxybate
           have negatively impacted and are expected to continue to negatively impact
           Xyrem and Xywav sales for patients with narcolepsy.33



           After any introduction of a generic product, whether or not it is an AG prod-
           uct, a significant percentage of the prescriptions written for Xyrem have been,
           and will likely be, filled with the generic product.34



           Any ANDA holder launching an AG product or another generic sodium oxybate
           product will independently establish the price of the AG product and/or its
           own generic sodium oxybate product and determine the types of discounts or
           rebates they will offer parties that purchase or pay for the product. Generic
           competition often results in decreases in the net prices at which branded
           products can be sold.35

           23. In addition, two companies have submitted ANDAs for generic versions of
    XYWAV, one of which has received tentative FDA approval.36 Jazz has stated in
    SEC filings that XYWAV may face competition from generic entry:

           We expect that Xywav for the treatment of both cataplexy and EDS in pa-
           tients with narcolepsy will continue to face competition from generic or AG
           sodium oxybate products or branded entrants in narcolepsy, such as Avadel’s
           Lumryz notwithstanding FDA recognizing Orphan Drug Exclusivity, or ODE,
           for Xywav. For example, we received notices in June 2021 and February 2023,
      33
        Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 17.
      34
        Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 36.
     35
        Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 36.
     36
        Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 36; “Lupin
    Receives Tentative Approval from U.S. FDA for Calcium, Magnesium, Potassium, and Sodium
    Oxybates Oral Solution,” Lupin Limited, October 13, 2023.
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 12 of 50 PageID #: 33424



    Highly Confidential                                                                               12

           that Lupin and Teva, respectively, filed ANDAs for generic versions of Xywav.
           On October 13, 2023, Lupin announced that it has received tentative approval
           for its application to market a generic version of Xywav. Additional companies
           may file ANDAs seeking to market a generic version of Xywav which could
           lead to additional patent litigation or challenges with respect to Xywav.37

           24. Notwithstanding Dr. Rainey’s assertion that XYWAV will have patent pro-
    tection through 2033,38 generic entry may occur earlier. Indeed, at least one source
    has predicted a generic XYWAV launch as early as 2028.39
           25. Furthermore, Jazz and Mr. Honerkamp do not address the incentives be-
    hind branded pharmaceutical pricing. Unlike competition among generic drugs, which
    are often automatically substituted for the brand and are bioequivalent to the ref-
    erence drug and other generics, branded drugs in the same therapeutic class are
    typically incentivized to compete with one another on therapeutic differentiation.40
    Indeed, an examination of public wholesale acquisition cost (“WAC”) and average
    wholesale prices (“AWP”)41 — list prices for pharmaceutical products — indicates
    that at launch, LUMRYZ’s AWP was at parity with XYWAV (comparing dose to
    dose), and today, LUMRYZ’s WAC is within 3 percent of the WAC for XYWAV (also
    comparing dose to dose) (see Tab 4). Such a minor price differential undermines
    Jazz’s claim of price erosion.
           26. Jazz and Mr. Honerkamp do not address any of the foregoing evidence.
    Indeed, these various sources of current and future competition for Jazz’s oxybate
    products are relevant to any price erosion, yet Jazz ignores them altogether.
      37
          Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023, page 36.
      38
          Expert Report of Mark Rainey, Ph.D., September 15, 2023, paragraphs 154-155, 157.
       39
          “Xywav Drug Patent Profile,” Drug Patent Watch, <www.drugpatentwatch.com>.
       40
          See, for example, “Prescription Drugs: Spending, Use, and Prices,” Congressional Budget Office,
    January 2022; Joseph A. DiMasi, “Price Trends for Prescription: Pharmaceuticals: 1995–1999,” A
    background report prepared for the Department of Health and Human Services’ Conference on Phar-
    maceutical Pricing Practices, Utilization and Costs, Leavey Conference Center, Georgetown Univer-
    sity (Washington, DC), August 8–9, 2000, pages 5–6; E. M. Kolassa, “Elements of Pharmaceutical
    Pricing,” Binghamton, NY, The Haworth Press, Inc., 1997, page 106.
       41
          Historical AWP are available, while only the most recent WAC is publicly available. See
    Micromedex Red Book.
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 13 of 50 PageID #: 33425



    Highly Confidential                                                              13

    V      CONCLUSION
          27. For the foregoing reasons, in my opinion Jazz has not demonstrated or
    established that it will be irreparably harmed by sales of LUMRYZ.
          28. I reserve the right to supplement or modify my opinions in this matter,
    including in response to any additional evidence, argument, or opinions submitted by
    Jazz in connection with this matter.




    ———————————–
    Mohan Rao, Ph.D.
    May 13, 2024
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 14 of 50 PageID #: 33426




                                  Tab 1
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 15 of 50 PageID #: 33427




    Mohan Rao, Ph.D.
    Chairman
    Epsilon Economics                                             Direct: 312.637.2980
    111 South Wacker Drive, 50th Floor                             Main: 312.637.2950
    Chicago, Illinois 60606                                 mrao@epsiloneconomics.com




    Summary

    Dr. Mohan Rao is the Chairman of Epsilon Economics and specializes in antitrust and
    intellectual property economics, with an emphasis on life sciences and technology. He
    has testified as an expert in U.S. and foreign courts and in arbitration proceedings.
    Dr. Rao also serves as the Chief Executive Officer of Expression Therapeutics, a
    biotechnology firm based in Atlanta that is focused on developing advanced therapies
    for hematology and oncology. Dr. Rao previously taught at Northwestern University
    and UCLA and was a Teaching Fellow at Harvard University. He was appointed as
    the first “Executive in Residence” — a recognized leader in the technology community
    — by the McCormick College of Engineering at Northwestern University. Prior to
    Epsilon Economics, Dr. Rao was the head of Navigant Economics, a global economics
    consulting firm. He has a Bachelor of Science in Engineering from the University of
    Michigan, a pre-doctoral fellowship from Harvard University, and a Ph.D. from the
    University of Colorado.
    Dr. Rao serves on the Board of Directors of Expression Therapeutics, Inc., Epsilon
    Xi LLC, the Children’s Hospital of Chicago, the Stanley Manne Children’s Research
    Institute, and the Economic Club of Chicago, on the Board of Trustees of the Chicago
    Symphony Orchestra, and is a member of the Chicago Club.




    4/11/2024                                                                 Page 1 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 16 of 50 PageID #: 33428




    Academic and Professional Experience

        Epsilon Economics
         Chairman/Chief Executive Officer, 2015-present
        Expression Therapeutics
         Chief Executive Officer/Partner, 2007-present
        Navigant Economics
         Managing Director, 2010–2015
        LECG
         Managing Director, 2005–2010
        Northwestern University
         McCormick School of Engineering and Applied Science
         Adjunct Professor, 2006–2020
        Charles River Associates / InteCap, Inc.
         Vice President, CRA, 2004–2005
         Managing Director, InteCap, 2004–2005
         Director, InteCap, 2000–2003
        University of California, Los Angeles
         Assistant Professor, 1994–2001
        Harvard University
         Fellow, Government Data Center, 1993–1994
         Teaching Fellow, 1993–1994


    Education

        B.S. (Engineering), 1989, University of Michigan
        Pre-Doctoral Fellow, 1993–1994, Harvard University
        Ph.D.; M.A. (Economics; Political Science), 1994, University of Colorado


    Selected Fellowships and Awards

        Cooley Award, University of Michigan College of Engineering
        Government Data Center Fellowship, Harvard University

    4/11/2024                                                            Page 2 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 17 of 50 PageID #: 33429




        David Cattell Fellowship, UCLA
        Faculty Career Development Award, UCLA


    Selected Affiliations

        Member, American Economic Association
        Member, Licensing Executives Society
        Member, American Society of Gene & Cell Therapy
        Member, Institute of Electrical and Electronics Engineers (IEEE)


    Expert Testimony

       1. Alexion Pharmaceuticals, Inc. et al v. Samsung Bioepis Co. Ltd.
          U.S. District Court – District of Delaware
          C.A. No. 1:24-cv-00005-GBW
       2. The Sanborn Library LLC et al. v. ERIS Information Inc. et al.
          U.S. District Court – Southern District of New York
          No. 1:19-cv-02049-LAK-OTW
       3. Arbor Pharmaceuticals, LLC and Takeda Pharmaceutical Company
          Limited v. Saba Ilac Sanayii Ve Ticaret As et al.
          U.S. District Court — District of Delaware
          Civil Action No. 20-353-MN
       4. Puma Biotechnology, Inc. et al v. AstraZeneca Pharmaceuticals LP et al
          U.S. District Court — District of Delaware
          C.A. No. 21-1338-MFK
       5. Amgen, Inc. et al v. Sandoz Inc.
          U.S. District Court — District of New Jersey
          C.A. No. 1:23-CV-02406-CPO-EAP
       6. Curia Global, Inc. et al. v. Cyprium Therapeutics, Inc.
          American Arbitration Association
          Case No. 01-22-0003-4042




    4/11/2024                                                               Page 3 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 18 of 50 PageID #: 33430




       7. 300 North LaSalle LLC v. Hines Interests Limited Partnership
          Federal Arbitration, Inc.
          Case No. F22-JW-A-DFG-0603
       8. In re: Certain Selective Thyroid Hormone Receptor-Beta Agonists. Processes
          for Manufacturing or Relating to Same, and Products Containing Same
          On behalf of: Viking Therapeutics, Inc.
          United States International Trade Commission
          Investigation No. 337-TA-1352
       9. Azurity Pharmaceuticals, Inc. v. Amneal Pharmaceuticals, LLC
          U.S. District Court — District of New Jersey
          Civil Action No. 3:21-cv-08717-FLW-DEA
      10. PhaseBio Pharmaceuticals, Inc. v SFJ Pharmaceuticals X, Ltd.
          U.S. Bankruptcy Court — District of Delaware
          Case No. 22-10995 (LSS), Adv. Proc. No. 22-50456 (LSS)
      11. Endo International plc et al. v Nevakar, Inc., et al.
          U.S. Bankruptcy Court — Southern District of New York
          Case No. 22-22549 (JLG), Adv. Proc. No. 22-07034 (ALG)
      12. Merck Sharp & Dohme Corp. v Zydus Worldwide DMCC et al.
          U.S. District Court — District of Delaware
          No. 1:21-cv-00315-RGA
      13. Novartis Pharma AG v Incyte Corporation
          U.S. District Court — Southern District of New York
          Civil Action No. 1:20-cv-00400-GHW
      14. SmartSky Networks, LLC v. Gogo Business Aviation, LLC et al.
          U.S. District Court — District of Delaware
          C.A. No. 22-266 (VAC)
      15. Celldex Therapeutics, Inc. v. Shareholder Representative Services LLC
          Court of Chancery — State of Delaware
          C.A. No. 2020-0682-MTZ
      16. Taiho Pharmaceutical Co., Ltd v. Accord Healthcare Inc. et al
          U.S. District Court — District of Delaware
          Civil Action Nos. 1:19-cv-02321 (CFC), 1:19-cv-02309 (CFC)
          Civil Action Nos. 1:19-cv-02342 (UNA), 1:19-cv-02368 (UNA)
      17. Actelion Pharmaceuticals Ltd. v. Mylan Pharmaceuticals Inc.
          U.S. District Court — Northern District of West Virginia

    4/11/2024                                                             Page 4 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 19 of 50 PageID #: 33431




         Civil Action No. 1:20-CV-110 (Keeley)
      18. Syngenta Crop Protection AG v. FMC Corporation
          FMC Corporation v. Syngenta Crop Protection AG
          American Arbitration Association
          AAA Case No. 01-19-0002-4208, 01-19-0002-4192
          Neutral Expert to the Tribunal
      19. Novartis Pharma AG v. Mitsubishi Tanabe Pharma Corporation
          International Court of Arbitration
          Case No. 24256/PTA
      20. Wemade Co., Ltd. et al v. Lansha Information Technology Co., Ltd. et al.
          International Court of Arbitration
          Case No. 22820/PTA/HTG
      21. Horizon Medicines LLC et al. v. Dr. Reddy Laboratories Inc. et al.
          U.S. District Court — District of New Jersey
          Case No. 2:15-cv-03324 (SRC) (CLW)
      22. Ravgen, Inc. v. Natera, Inc. and NSTX, Inc.
          U.S. District Court — Western Division of Texas (Austin Division)
          Civil Action No. 6-20-CV-00451
      23. Seattle Genetics, Inc. v. Daiichi Sankyo Co., Ltd.
          American Arbitration Association
          Case No.: 01-19-0004-0115
      24. Humana Health Plan, Inc. et al. v. Walgreen Co. et al.
          American Arbitration Association
          AAA Case 01-19-0002-5131
      25. Merck Sharp & Dohme Corp. et al. v. Actavis Laboratories FL et al.
          U.S. District Court — District of New Jersey
          C.A. No. 2:15-CV-06541
      26. Club Champion LLC v. True Spec Golf LLC
          U.S. Patent and Trademark Office — Patent Trial and Appeal Board
          Inter Partes Review No. IPR2019-01148
      27. Actelion Pharmaceuticals Ltd. v. Zydus Pharmaceuticals (USA) Inc.
          U.S. District Court — District of New Jersey
          C.A. 18-1397 (FLW)(LHG)
      28. Treehouse Foods, Inc. et al. v. Keurig Green Mountain, Inc.


    4/11/2024                                                                 Page 5 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 20 of 50 PageID #: 33432




          U.S. District Court — Southern District of New York
          No. 1:14-CV-00905-VSB
      29. Ingevity Corporation et al. v. BASF Corporation
          U.S. District Court — District of Delaware
          Case No. 18-1391-RGA
      30. Niazi Licensing Corporation v. St. Jude Medical S.C., Inc.
          U.S. District Court — District of Minnesota
          C.A. No. 017-cv-5096-WMT-BRT
      31. Glaukos Corporation v. Ivantis, Inc.
          U.S. District Court – Central District of California
          C.A. No. 8:18-cv-00620-JVS-JDE
      32. C.R. Bard, Inc. v. Medline Industries, Inc.
          U.S. Patent and Trademark Office — Patent Trial and Appeal Board
          Inter Partes Review No. IPR2019-00035
          Inter Partes Review No. IPR2019-00036
          Inter Partes Review No. IPR2019-00109
      33. Sandoz Inc. et al. v. United Therapeutics Corporation et al.
          U.S. District Court — Northern District of New Jersey
          Case No. 3:19-cv-10170-BRM-LHG
      34. Maverick Therapeutics, Inc. et al. v. Harpoon Therapeutics, Inc.
          Court of Chancery — State of Delaware
          C.A. No. 2019-0002-SG
      35. Koppers (Jiangsu) Carbon Chemical Company Limited v. Fangda C-
          Chem (Jiangsu) Needle Coke Co., Ltd.
          China International Economic and Trade Arbitration Commission (CIETAC)
          Case No. G20180547
      36. Rockwell Automation, Inc. v. Radwell International, Inc.
          U.S. District Court — District of New Jersey
          Civil Action No.: 15-cv-05246 (RBK) (JS)
      37. Delcor Asset Corporation et al. v. Taro Pharmaceutical Industries et al.
          U.S. District Court — Southern District of New York
          C.A. No.:1:17-cv-05405 (RJS)
      38. Duke University and Allergan Sales, LLC v. Sandoz, Inc.
          U.S. District Court — District of Colorado
          Civil Action No.: 1:18-cv-00997-MSK-KLM

    4/11/2024                                                            Page 6 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 21 of 50 PageID #: 33433




      39. Juno Therapeutics, Inc. et al. v. Kite Pharma, Inc.
          U.S. District Court — Central District of California
          Case No.: 2:17-CV-07639
      40. Välinge Innovation AB v. Halstead International, The Home Depot, Inc.
          U.S. District Court — District of Delaware
          C.A. No. 16-1082-LPS-CJB
      41. In re: Merck Mumps Vaccine Antitrust Litigation
          On behalf of: Merck & Co., Inc.
          U.S. District Court — Eastern District of Pennsylvania
          No. 2:12-cv-03555
      42. Blue Cross Blue Shield Association, et al. v. GlaxoSmithKline LLC.
          U.S. District Court — Eastern District of Pennsylvania
          Civil Action No. 2:13-cv-4663-JS
      43. In the Matter of Certain Programmable Logic Controllers (PLCs), Components
          Thereof, and Products, Containing Same
          On behalf of: Rockwell Automation, Inc.
          United States International Trade Commission
          Inv. No. 337-TA-1105
      44. Chuanqi IP Co., Ltd. v. Zhejiang Huanyou Network Technology Co., Ltd.
          International Court of Arbitration
          Case No. 22593/PTA
      45. Bio-Rad Laboratories, Inc. v. Paladin III, L.P.
          Supreme Court of the State of New York — County of New York
          Index No. 651641/2014
      46. Tyntec Inc. et al. v. Syniverse Technologies, LLC.
          U.S. District Court — Middle District of Florida (Tampa Division)
          Case No. 8:17-CV-00591-RAL-MAP
      47. Gilead Sciences, Inc. v. Roche Molecular Systems, Inc.
          American Arbitration Association
          AAA Case 01-16-0004-7625
      48. Sanofi-Aventis US. LLC et al. v. Merck Sharp & Dohme Corp.
          U.S. District Court — District of Delaware
          C.A. No. 16-812-RGA
      49. Immunomedics, Inc. v. Roger Williams Medical Center et al.
          U.S. District Court — District of New Jersey

    4/11/2024                                                                 Page 7 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 22 of 50 PageID #: 33434




         Civil Action No. 2:15-cv-04526
      50. Purdue Pharma L.P. et al. v. Amneal Pharmaceuticals, LLC
          U.S. District Court — District of Delaware
          C.A. No. 15-1152-RGS-SRF
      51. KVK-Tech, Inc. v. Valeant Pharmaceuticals International, Inc. et al.
          American Arbitration Association
          No. 01-15-0005-0393
      52. Astrazeneca LP, et al. v. Breath Limited, et al.
          U.S. District Court — District of New Jersey
          08-cv-01512 (RMB) (AMD)
      53. Gilead Sciences, Inc. v. Mylan Pharmaceuticals Inc.
          U.S. District Court — District of Delaware
          C.A. No. 1:16-cv-00192
      54. Bayer Consumer Care, AG., et al. v. Belmora, LLC, et al.
          United States District Court — Eastern District of Virginia (Alexandria Divi-
          sion)
          Case No.: 1:14-cv-00847 (CMH)(JFA)
      55. Boehringer Ingelheim Pharma GmbH & Co. KG et al. v. Teva Phar-
          maceuticals USA, Inc. et al.
          United States District Court — District of New Jersey
          No. 3:14-CV-7811 (MLC-TJB); No. 3:14-CV-1662 (MLC-TJB); No. 3:14-CV-
          7880 (MLC-TJB)
      56. Otsuka America Pharmaceutical, Inc. v. Pfizer, Inc.
          American Arbitration Association
          Case No.: 01-16-0004-1233/01-16-0004-0951
      57. Momenta Pharmaceuticals, Inc., Sandoz Inc. v. Amphastar Pharmaceu-
          ticals, Inc. et al.
          United States District Court — District of Massachusetts
          No. 1:11-CV-11681
      58. Dell Inc. and Dell Products L.P. v. Hitachi, Ltd. et al.
          United States District Court — Northern District of California
          Case No. M:10-cv-02143-RD/3:13-cv-03350-RS
      59. LG Display Co., Ltd. v. Amtran Technology Co., Ltd. and Amtran
          Electronics (Suzhou) Co., Ltd. China


    4/11/2024                                                               Page 8 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 23 of 50 PageID #: 33435




          International Court of Arbitration
          Case No. 20946/CYK (c. 20963/CYK)
      60. Gilead Sciences, Inc. et al. v. Watson Laboratories, Inc.
          United States District Court — District of New Jersey
          C.A. No. 15-CV-2350 (RMB) (JS)
      61. Copart, Inc. v. Sparta Consulting, Inc.
          United States District Court — Eastern District of California
          No. 2:14-CV-00046-KJM-CKD
      62. Elaine Ann Gold et al. v. Dekalb County School District et al.
          Superior Court of Dekalb County — State of Georgia
          Civil Action File No. 11-CV-3657-5
      63. In re: Syngenta Litigation
          County of Hennepin (Fourth Judicial District) — State of Minnesota
          No. 27-CV-15-3785
      64. Sprint Communications Company L.P., et al. v. Cox Communications,
          Inc., et al.
          U.S. District Court — District of Delaware
          Case No. 1:12-cv-00487-SLR
      65. Endo Pharmaceuticals Solutions Inc., Bayer Intellectual Property
          GMBH et al. v. Paddock Laboratories, LLC et al.
          U.S. District Court — District of Delaware
          C.A. No. 14-1422-SLR
      66. GlaxoSmithKline LLC et al. v. Pernix Therapeutics Holdings, Inc.
          International Court of Arbitration
          ICC Case No. 21284/RD
      67. Hospira, Inc. et al. v. Eurohealth International SARL et al.
          U.S. District Court — District of Delaware
          Civil Action No. 1:14-cv-487-GMS
      68. Nexus Display Technologies LLC v. Dell Inc.
          U.S. District Court — District of Texas (Marshall Division)
          Case No. 2:14-cv-00762
      69. Adidas AG et al. v. Under Armour Inc. and MapMyFitness, Inc.
          U.S. District Court — District of Delaware
          C.A. No. 14-130 (GMS)


    4/11/2024                                                              Page 9 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 24 of 50 PageID #: 33436




      70. Levi Strauss & Co. v. Deloitte Consulting LLP et al.
          Superior Court of the State of California — County of San Francisco
          No. CGC-09-487219
      71. Sanofi-Aventis U.S. LLC et al. v. Eli Lilly and Company
          U.S. District Court — District of Delaware
          Case No. 14-113-RGA-MPT
      72. Sprint Communications Company L.P. v. Comcast Cable Communica-
          tions, LLC, et al.
          U.S. District Court — District of Kansas
          Case No. 11-cv-2684 JWL/JPO
      73. Sprint Communications Company L.P. v. Cable One, Inc.
          U.S. District Court — District of Kansas
          Case No. 11-cv-2685 JWL/JPO
      74. Sprint Communications Company L.P. v. Time Warner Cable Inc. et al.
          U.S. District Court — District of Kansas
          Case No. 11-cv-2686 JWL/JPO
      75. Lavastone Capital LLC v. Coventry First LLC, et al.
          U.S. District Court — Southern District of New York
          C.A. No.: 14-CV-7139 (Judge Jed S. Rakoff)
      76. Pericor Therapeutics v. Merck & Co., Inc.
          American Arbitration Association
          AAA Arbitration No. 13 122 J03052
      77. Lufkin Industries, Inc. v. International Business Machines et al.
          District Court — Angelina County, Texas
          Case No.: cv-02073-13-02
      78. Sunovion Pharmaceuticals Inc. v. Takeda GMBH
          International Court of Arbitration
          ICC Case No. 19231/GFG
      79. LG Household and Health Care Limited v. Akinari Ikka and Eri Ikka
          International Court of Arbitration
          ICC Arbitration No. 19421/CYK
      80. Mirowski Family Ventures, LLC. v. Boston Scientific Corp. et al.
          Circuit Court — Montgomery County, Maryland (Judge Ronald B. Rubin)
          Civil No. 373798-V


    4/11/2024                                                              Page 10 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 25 of 50 PageID #: 33437




      81. Dell Inc. et al v. Hitachi, Ltd. et al.
          U.S. District Court — Northern District of California (San Francisco Division)
          Case No.: 3:13-cv-02171-SC
      82. Purdue Pharma L.P. et al v. Amneal Pharmaceuticals, LLC, Teva Phar-
          maceuticals USA, Inc.
          U.S. District Court — Southern District of New York (Judge Stine)
          Case No. 13-cv-3372 (SHS)
          Case No. 13-cv-4606 (SHS)
      83. Gilead Sciences, Inc. and Emory University v. Cipla Limited
          U.S. District Court — Southern District of New York
          Civil Action No. 12-CIV-6350 (RJS) (AJP)
          Civil Action No. 12-CV-6351 (RJS) (AJP)
      84. Gilead Sciences, Inc. and Emory University v. Lupin Limited
          U.S. District Court — Southern District of New York
          Civil Action No. 12-CIV-6293 (RJS) (AJP)
          Civil Action No. 12-CV-6294 (RJS) (AJP)
      85. Galderma Laboratories, L.P. et al v. Actavis Mid Atlantic LLC
          U.S. District Court — Northern District of Texas
          3:12-CV-2038
      86. MPEG LA, L.L.C. v. Dell Global B.V. and Dell Products, L.P.
          Court of Chancery — The State of Delaware
          C.A. No. 7016-VCP
      87. Source Healthcare Analytics, Inc., Wolters Kluwer U.S. Corporation
          et al. v. SDI Health LLC et al.
          Court of Common Pleas — Philadelphia County (Commerce Court Program)
          No. 02290
      88. United States of America ex rel. Donald Gale v. Omnicare, Inc.
          U.S. District Court — Northern District of Ohio (Eastern Division)
          Case No. 1:10 CV-0127
      89. Scienton Technologies, Inc. v. Computer Associates International, Inc.
          U.S. District Court — Eastern District of New York
          Case No. 04-CV-2652 (JS)(ETB)
      90. In re Oxycontin Antitrust Litigation
          U.S. District Court — Southern District of New York (Judge Stine)
          Case No. 04-md-1603 (SHS)


    4/11/2024                                                               Page 11 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 26 of 50 PageID #: 33438




      91. Avid Technology, Inc. v. Harmonic Inc.
          U.S. District Court — District of Delaware
          Civil Action No. 1:11 CV-01040-GMS-SRF
      92. Gilead Sciences, Inc. v. Sigmapharm Laboratories, LLC
          U.S. District Court — District of New Jersey
          C.A. No. 10-CV-4931 (SDW) (MCA)
      93. Bayer Healthcare LLC v. Pfizer Inc.
          U.S. District Court — Northern District of Illinois
          Civil Action No. 1:12-cv-00630
      94. Kimberly-Clark Corporation v. Cardinal Health 200, LLC et al.
          U.S. District Court — Northern District of Georgia (Atlanta Division)
          Civil Action No. 1:10 CV-0034-CAP
      95. Multimedia Patent Trust v. Apple Inc., LG Electronics, Inc. et al.
          U.S. District Court — Southern District of California
          Case No. 10-CV-2618 JLS RBB
      96. The Swatch Group Ltd. et al. v. Tiffany and Company et al.
          Netherlands Arbitration Institute
          NAI Case No. 3905
      97. Boston Scientific Corporation et al. v. Mirowski Family Ventures, LLC.
          U.S. District Court — Southern District of Indiana (Indianapolis Division)
          Civil Action No. 1:11-cv-0736WTL DKL
      98. Tyco Healthcare Group LP et al. v. Pharmaceutical Holdings Corp. et al.
          U.S. District Court — District of New Jersey
          C.A. No. 07-cv-1299 (SRC)(MAS)
      99. Teva Neuroscience, Inc., et al. v. Watson Laboratories, Inc., et al.
          U.S. District Court — District of New Jersey
          C.A. No. 2:10-cv-05078 (CCC) (JAD); C.A. No. 2:11-cv-03076 (CCC) (JAD)
     100. PSN Illinois, LLC. v. Abbott Laboratories, Inc. and Abbott Bioresearch
          Center, Inc.
          U.S. District Court — Northern District of Illinois (Eastern Division)
          Case No. 09-cv-05879
     101. Hoffman-La Roche Inc. v. Teva Pharmaceuticals USA, Inc. et al.
          U.S. District Court — New Jersey
          Civ. Action No. 2:09-cv-05283; Civ. Action No. 2:09-cv-06335


    4/11/2024                                                              Page 12 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 27 of 50 PageID #: 33439




     102. Armando Plascencia et al. v. Lending 1st Mortgage et al.
          U.S. District Court — Northern District of California
          Case No. 4:07-cv-04485-CW
     103. Aria Diagnostics, Inc. v. Sequenom, Inc.
          U.S. District Court — Northern District of California
          Case No. 3:11-cv-06391-SI
     104. In re TFT-LCD (Flat Panel) Antitrust Litigation
          On behalf of: Dell Inc. and Dell Products L.P.
          U.S. District Court – Northern District of California (San Francisco Division)
          Case No. 10 1064
     105. MPEG-LA, L.L.C. v. Audiovox Electronics Corporation et al.
          Supreme Court of the State of New York — County of Suffolk (Judge Emily
          Pines)
          Index No. 24678/08
     106. Genzyme Corporation v. Seikagaku Corporation, Zimmer Holdings, Inc.
          et al.
          U.S. District Court — District of Massachusetts (Judge Douglas P. Woodlock)
          C.A. NO.: 1:11-cv-1-636-DPW
     107. Rembrandt Vision Technologies, LP et al. v. Bausch & Lomb, Inc.
          American Arbitration Association
          Case No. 14 122 Y 00403 09
     108. DSM Desotech Inc. v. 3D Systems Corporation and 3D Systems, Inc.
          U.S. District Court — Northern District of Illinois (Eastern Division)
          Civil Case No. 08 C 1531
     109. Onyx Pharmaceuticals, Inc. v. Bayer Corporation et al.
          U.S. District Court — Northern District of California
          Case No. 3:09-cv-02145-MHP
     110. Sanofi-Aventis Deutschland GMBH et al. v. Glenmark Pharmaceuticals
          Inc., USA, et al.
          U.S. District Court – District of New Jersey (Judge Dennis M. Cavanaugh)
          C.A. No. 07-CV-05855 (DMC-JAD)
     111. Advanced Stent Technologies, Inc. v. Boston Scientific Corporation
          American Arbitration Association
          Case Nos. 65 180 Y 00290 08 and 65 489 00292 08



    4/11/2024                                                                Page 13 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 28 of 50 PageID #: 33440




     112. Jayhawk Capital Management LLC, et al. v. LSB Industries, Inc., et al.
          U.S. District Court – District of Kansas
          Case No.: 08-CV-2561 EFM/JPO
     113. Ortho-McNeil-Janssen Pharmaceuticals, Inc. et al. v. Watson Laboratories,
          Inc., Sandoz, Inc., Lupin Pharmaceuticals, Inc. et al.
          U.S. District Court – District of New Jersey
          Civil No.: 08-5103 (SRC)(MAS)
     114. Bristol-Myers Squibb Company (U.S.A.) v. Daiichi Sankyo Company
          Limited (Japan)
          International Court of Arbitration
          ICC Case No. 15564/EC/VRO
     115. Bayer Healthcare Pharmaceuticals, Inc. v. Schering Corporation
          Court of Chancery of the State of Delaware
          C.A. No. 3548-VCS
     116. LG Electronics U.S.A., Inc. et al. v. Whirlpool Corporation et al.
          U.S. District Court – District of Delaware (Judge Gregory M. Sleet)
          Civil Action No.: 08-CV-234
     117. Microsoft Corporation v. Franchise Tax Board
          Superior Court of the State of California – For the County of San Francisco
          Case No.: CGC 08-471260
     118. Securities and Exchange Commission v. Biovail Corporation et al.
          On behalf of: John Miszuk
          U.S. District Court – Southern District of New York
          Civil Action No.: 08 Civ. 02979(LAK)
     119. Claredi Corporation v. SeeBeyond Technology Corporation
          U.S. District Court – Eastern District of Missouri (Eastern Division)
          Civil Action No.: 4:04-CV-1304RWS
     120. LG Electronics U.S.A., Inc. v. Whirlpool Corporation
          U.S. District Court – Northern District of Illinois (Eastern District)
          Civil Action No.: 08 C 242
     121. Unigene Laboratories, Inc. et al. v. Apotex, Inc. et al.
          U.S. District Court – Southern District of New York
          Civil Action No.: 06-CV-5571
     122. Sanofi-Aventis Canada Inc. et al. v. Novopharm Limited
          Federal Court of Canada – Toronto

    4/11/2024                                                                  Page 14 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 29 of 50 PageID #: 33441




          Court File No. T-1161-07 Dated December 5, 2007
     123. 3M Company et al. v. Moldex-Metric, Inc.
          U.S. District Court – District of Minnesota
          Civil Action No.: 03-CV-5292 (MJD/AJB)
     124. Boehringer Ingelheim Pharmaceuticals, Inc. v. Abbott Laboratories et al.
          Private Arbitration — Chicago, Illinois
     125. Thomas Johnson v. Clark/McHugh/Rausch and Walsh/Riteway
          Circuit Court of Cook County, Illinois (County Department, Law Division)
          Case No.: 03 L 015015
     126. Aventis Pharma S.A. v. Baxter Healthcare Corporation
          The International Institute for Conflict Prevention and Resolution
          CPR File: G-08-05
     127. In re K-DUR Antitrust Litigation
          On behalf of: Schering-Plough Corporation
          U.S. District Court – District of New Jersey
          Civil Action No.: 01-1652 (JAG); MDL Docket No. 1419
     128. The Procter & Gamble Company v. Ultreo, Inc.
          U.S. District Court – Southern District of New York
          Civil Action No. 07 CIV 8379 (HB) (Judge Richard Sullivan)
     129. Church & Dwight Co., Inc. v. Abbott Laboratories
          U.S. District Court – District of New Jersey
          Civil Action No. 05 CV 2142 (GEB) (Judge Garrett E. Brown)
     130. Boehringer Ingelheim International GmbH and Boehringer Ingelheim
          Pharmaceuticals, Inc. v. Barr Laboratories Inc.
          U.S. District Court – District of Delaware
          C.A. No. 05-700-(KAJ) (Judge Joseph J. Farnan, Jr.)
     131. The Dow Chemical Company v. Shell Oil Company
          Circuit Court of Cook County, Illinois (County Department, Law Division)
          Civil Action No.: 00L13873
     132. Fresenius Medical Care Holdings, Inc. and Nabi Biopharmaceuticals, Inc. v.
          Roxane Laboratories, Inc.
          U.S. District Court – Southern District of Ohio (Eastern Division)
          Case No.: C2 05 889
     133. Dyson Technology Limited and Dyson, Inc. v. Maytag Corporation


    4/11/2024                                                                  Page 15 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 30 of 50 PageID #: 33442




          U.S. District Court – District of Delaware
          Civil Action No.: 05-434-GMS
     134. Casmier Bobak and Jeanette Bobak v. The City of Chicago et al.
          Circuit Court of Cook County, Illinois (County Department, Law Division)
          Case No.: 02 L 6981
     135. Shuffle Master, Inc. v. Yehia Awada and Gaming Entertainment, Inc.
          U.S. District Court – Northern District of Illinois (Eastern Division)
          Case No.: CV-S-05-1112-RCJ-RJJ
     136. Schering-Plough, Ltd. v. Centocor, Inc.
          American Arbitration Association
          AAA No.: 50 181 T 00350 05 (Judge Edward N. Cahn)
     137. Christopher Boyle et al. v. Advanced Bio Prosthetic Surfaces, Ltd.,
          ABPS Management, L.L.C., et al.
          American Arbitration Association
          AAA No.: 70 180 Y 00655 04
     138. Diodem, LLC v. Biolase Technology, Inc. et al.
          U.S. District Court – Central Division of California (Western Division)
          CV-03-2142 GAF (RCx)
     139. Federal Trade Commission v. Mercury Marketing of Delaware, Inc. et al.
          On behalf of: Mercantile Capital LLC
          U.S. District Court – Eastern District of Pennsylvania
          C.A. No. 00-CV-3281 (Judge Clifford Scott Green)
     140. Pfizer, Inc., Warner Lambert Company et al. v. Ranbaxy Laboratories
          Limited et al.
          U.S. District Court – District of Delaware
          Case No.: 03-209-JJF (Judge Joseph J. Farnan, Jr.)
     141. ATI Systems, Inc. v. PECO Energy Company
          American Arbitration Association
          AAA No.: 14 117 00892 03 (Judge John J. Gibbons)
     142. In re Relafen Antitrust Litigation
          Eon Labs, Inc. v. GlaxoSmithKline PLC et al.
          U.S. District Court – District of Massachusetts
          Master File No.: 01-12239-WGY; Civil Action No.: 03-10506-WGY




    4/11/2024                                                                Page 16 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 31 of 50 PageID #: 33443




    Preprints and Publications

       1. “The Best Way to Value Biotech for Deal Making and Investments,” Intellectual
          Asset Magazine, Autumn 2020 (with Grace Park).
       2. “Econometric Analysis,” Litigation Services Handbook: The Role of the Fi-
          nancial Expert, Sixth Edition, Roman L. Weil, Daniel G. Lentz, Elizabeth A.
          Evans, Editors, New York: John Wiley, 2017 (with Anna C. King and Christian
          D. Tregillis).
       3. “Economic Analysis in Securities Class Certification,” Litigation Services Hand-
          book: The Role of the Financial Expert, Sixth Edition, Roman L. Weil, Daniel
          G. Lentz, Elizabeth A. Evans, Editors, New York: John Wiley, 2017 (with
          Michal A. Malkiewicz and Cathy M. Niden).
       4. “Innovation Markets,” Market Definition in Antitrust: Theory and Case Stud-
          ies, American Bar Association, 2012, Chapter XIII (with Robert Maness).
       5. “The Demise of the 25% Rule,” Intellectual Asset Management, May/June 2011
          (with Jonathan Tomlin).
       6. “25 Percent Rule Rest in Peace,” Viewpoints, Vol. XVIII No. 2, April 2011.
       7. “Valuing Intellectual Property in Licensing Transactions,” The Licensing Jour-
          nal , June/July 2008.
       8. “Economic Analysis in Securities Class Certifications,” Litigation Services Hand-
          book: The Role of the Financial Expert, 2008 Supplement, Roman L. Weil,
          Michael J. Wagner, and Peter B. Frank, Editors, New York: John Wiley, 2008
          (with Cathy M. Niden).
       9. “Econometric Analysis,” Litigation Services Handbook: The Role of the Finan-
          cial Expert, Fourth Edition, Roman L. Weil, Michael J. Wagner, and Peter B.
          Frank, Editors, New York: John Wiley, 2007 (with Christian Tregillis).
      10. “A Primer on Trademarks and Trademark Valuation,” Economic Damages in
          Intellectual Property, Daniel Slottje, Editor, New York: John Wiley, 2006 (with
          Michaelyn Corbett and David Teece).
      11. “What Experts Should Fear Most,” Expert Alert, Vol. 1, No. 1, Winter 2005,
          American Bar Association (with John Bone).
      12. “Econometric Analysis,” Litigation Services Handbook: The Role of the Finan-
          cial Expert, 2003 Supplement, Roman L. Weil, Michael J. Wagner, and Peter
          B. Frank, Editors, New York: John Wiley, 2004 (with Christian Tregillis).


    4/11/2024                                                                 Page 17 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 32 of 50 PageID #: 33444




      13. “Inferring Micro– from Macrolevel Change: Ecological Panel Inference in Sur-
          veys.” Working Paper, UCLA and New York University, 2001 (with Alexander
          A. Schuessler).
      14. “The Dynamics of the Democratic Peace,” Journal of Conflict Resolution, Vol.
          45(6), p. 818–833, 2001 (with Lars–Erik Cederman).
      15. “Intellectual Property Protection Improves as India Implements the TRIPS
          Agreement,” India Business & Investment Report, June 2000.
      16. “TRIPS and Global Trade in Pharmaceuticals,” Working paper, UCLA, 2000.
      17. “Democratie et Commerce International,” Arès, Vol. XVIII(46), November
          2000 (with Michael D. Ward).
      18. “Intellectual Property Rights and Foreign Direct Investment,” Working paper,
          UCLA, 1998 (with Keith Maskus).
      19. “Indian Defense Expenditures in a Changed Global Security Environment.”
          International Studies, 1998.
      20. “The Strategic Design of Trade Policy Outcomes,” Working paper, UCLA, 1997
          (with Susanne Lohmann).
      21. “Patents and International Trade: An Empirical Study.” In Robert M. Stern,
          Edward E. Leamer, and Keith E. Maskus, editors, Quiet Pioneering. Ann
          Arbor: University of Michigan Press, 1997 (with Keith E. Maskus).
      22. “Market Openness and Trade Conflict,” Working paper, UCLA, 1996.
      23. “How Trade–Related are Intellectual Property Rights?” Journal of Interna-
          tional Economics, Vol. 39, p. 227–248, 1995 (with Keith E. Maskus).
      24. “Guns and Growth Around the Globe.” International Interactions, Vol. 21(2),
          p. 181–201, 1995 (with Michael D. Ward et al).
      25. “North American Trade in the Post Debt Crises Era.” In Khosrow Fatemi,
          editor, North American Free Trade Agreement: Opportunities and Challenges.
          London: Macmillan, 1993, p. 84–97 (with Barry W. Poulson).
      26. “Canons et croissance dans le monde,” Arès, Vol. XIV(4), p. 15–31, 1993 (with
          Michael D. Ward).
      27. “Economic Growth, Investment, and Military Spending in India.” In Steve
          Chan and Alex Mintz, editors, Defense, Welfare, and Growth. London: Rout-
          ledge, 1992, p. 119—136 (with Michael D. Ward et al).


    4/11/2024                                                               Page 18 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 33 of 50 PageID #: 33445




      28. “Military Spending in India.” Defence Economics, Vol. 3, p. 41–64, 1991 (with
          Michael D. Ward et al).


    Presentations and Speeches

       1. “Economics of Intellectual Property in Life Sciences Litigation,” New York Uni-
          versity School of Law, March 23, 2022 (with Anna King).
       2. “The Coming Transformation of Medicine,” Multidisciplinary Training Program
          in Child and Adolescent Health (TL1), Northwestern University Clinical and
          Translational Sciences Institute (NUCATS), December 13, 2021.
       3. “Regression Analysis in Litigation,” Revenue Estimation Case Study, AICPA
          & CIMA Forensic & Valuation Services Conference, November 9, 2020 (with
          Christian Tregillis).
       4. “Disruptive Innovations in Biotechnology,” Invited Speaker, IEEE Technology
          & Engineering Management Society, Chicago, June 29, 2018.
       5. “The New World of Marketing and Finance,” Shirley Ryan Lecture Series on
          “Big Data: Impact On Our Lives,” Northwestern University, November 5, 2014.
       6. “Role of the Expert After Apple v. Motorola,” Litigating Patent Damages, Law
          Seminars International, San Francisco, May 29-30, 2014.
       7. “Dealing with Uncertainty of Damages and Injunctive Relief in the World of
          IP,” Annual Conference of the Association of Corporate Counsel, Wisconsin
          Chapter, Elkhart Lake, Wisconsin, May 9-10, 2013.
       8. “Game Theory Applications to BioPharma Deal Negotiations,” Annual Meet-
          ings of the Licensing Executives Society, Chicago, September 29, 2010.
       9. “Valuing Pharmaceutical and Biotechnology Pipelines,” a Professional Devel-
          opment Series Workshop at the Annual Meetings of the Licensing Executives
          Society, Chicago, September 26, 2010.
      10. “Commercializing Technology Through the Power of IP Licensing,” a Profes-
          sional Development Series Course, Licensing Executives Society, Chicago, April
          26, 2010.
      11. “How to Value High Risk Early Stage Technologies,” Mornings@McCormick,
          Northwestern University, Evanston, April 13, 2010.




    4/11/2024                                                                Page 19 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 34 of 50 PageID #: 33446




      12. “Valuation of Early Stage Pharmaceutical and Biotechnology Pipelines,” Work-
          shop at the Annual Meetings of the Licensing Executives Society, San Francisco,
          October 21, 2009.
      13. “Valuation, Taxation, and Pricing Issues with Intellectual Property,” Workshop
          at the Annual Meetings of the Licensing Executives Society, Orlando, October
          19, 2008.
      14. “Valuation of Early Stage Technologies,” Indian School of Business, Hyderabad,
          India, August 19, 2008.
      15. “Valuation of Intellectual Property,” 2nd Annual Patent Law Institute, Prac-
          tising Law Institute, New York, New York, January 14-15, 2008.
      16. “Economic Analysis in Class Actions,” Seminar on Innovative Strategies for
          Litigating Class Actions, Law Seminars International, Los Angeles, California,
          November 12–13, 2007.
      17. Recent Key Developments in Intellectual Property Law and Applicability at the
          Global Level, XPRT Forum, Sonoma, California, October 3-6, 2007.
      18. Effective Development and Presentation of Expert Testimony, Law Seminars
          International, Chicago, Illinois, September 24–25, 2007 (co-chair w/ Alan Sil-
          berman).
      19. “Intellectual Asset Management: Valuation,” a Professional Development Series
          Intermediate Course, Licensing Executives Society, Chicago, July 10, 2007.
      20. “Intellectual Asset Management: Advanced Valuation Skills,” a Professional
          Development Series Advanced Course, Licensing Executives Society, Philadel-
          phia, June 13–14, 2007.
      21. “Intellectual Asset Management: Valuation,” a Professional Development Se-
          ries Intermediate Course, Licensing Executives Society, Philadelphia, March 13,
          2007.
      22. “Intellectual Asset Management: Advanced Valuation Skills,” a Professional
          Development Series Advanced Course, Licensing Executives Society, San Fran-
          cisco, November 1–2, 2006.
      23. “Implementing Valuation Methods,” a Professional Development Series Inter-
          mediate Workshop at the Annual Meetings of the Licensing Executives Society,
          New York, September 12, 2006.
      24. “Intellectual Asset Management: Valuation,” a Professional Development Series
          Intermediate Course, Licensing Executives Society, San Francisco, April 25,

    4/11/2024                                                                Page 20 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 35 of 50 PageID #: 33447




          2006.
      25. Effective Development and Presentation of Expert Testimony, Law Seminars
          International, Chicago, Illinois, March 20–21, 2006 (co-chair w/ Alan Silber-
          man).
      26. “Lost Profits When the Patent is Only Part of the Whole,” Seminar on Calculat-
          ing and Proving Patent Damages, Law Seminars International, San Francisco,
          California, February 27–28, 2006.
      27. “The Use and Misuse of Statistics,” The American Institute of Certified Public
          Accountants, Jersey City, New Jersey, December 2, 2005.
      28. “Use of Statistics in IP Litigation” Presentation to McAndrews, Held & Malloy,
          Chicago, December 1, 2005.
      29. “Intellectual Asset Management: The Deal,” a Professional Development Se-
          ries Fundamentals Course, Licensing Executives Society, Arlington, Virginia,
          November 8-9, 2005.
      30. “Implementing Valuation Methods,” a Professional Development Series Inter-
          mediate Workshop at the Annual Meetings of the Licensing Executives Society,
          Phoenix, October 18, 2005.
      31. “Damages and Antitrust Issues in Intellectual Property Litigation” Presentation
          to Dykema Gossett, Chicago, July 21, 2005 (w/ Kathi Kedrowski).
      32. “Intellectual Asset Management: Valuation,” a Professional Development Series
          Intermediate Course, Licensing Executives Society, Chicago, July 19, 2005.
      33. “Implementing Valuation Methods,” a Professional Development Series Inter-
          mediate Workshop at the Annual Meetings of the Licensing Executives Society,
          Boston, October 17, 2004.
      34. “Use of Surveys and Statistics in Litigation,” Workshop at the Advanced Busi-
          ness Litigation Institute, Palm Springs, May 9, 2003.
      35. “Real Option Valuation,” Presented at the 2002 Winter Meeting of the Licensing
          Executives Society, Lake Las Vegas, February 14, 2002.
      36. “Networked Computer Simulations,” CyberSpace@UCLA, UCLA Anderson Sch-
          ool of Management, Los Angeles, May 2, 2002.
      37. “Improving IP Financial Performance.” Presentation to Jones, Day, Reavis &
          Pogue, Los Angeles, June 20, 2001 (w/ David Haas).



    4/11/2024                                                                Page 21 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 36 of 50 PageID #: 33448




      38. “Intellectual Property: The New Global Currency,” Jacob Marschak Collo-
          quium, UCLA Anderson School of Management, June 8, 2001.
      39. “Commerce and Democracy.” Presented at the conference on Spatial Analysis
          for Political Methodology, University of Colorado, Boulder, March 2000.
      40. “Determinants of International Trade Flows in an Era of Globalization.” Pre-
          sented at the UCLA Conference on International Institutions, Lake Arrowhead,
          February 2000.
      41. “Exploring the Dynamics of Interstate Conflict.” Presented at the Meetings of
          the International Studies Association, Des Moines, Iowa, October 1999.
      42. “Exploring the Dynamics of Interstate Conflict.” Presented at the UCLA Con-
          ference on Norms in International Relations, Los Angeles, October 1999.
      43. “Globalization and the Decline of Power Politics.” Presented at the Annual
          Meetings of the APSA, Atlanta, September 1999.
      44. “Inferring Micro– from Macrolevel Change.” Presented at the Annual Meetings
          of the MPSA, Chicago, April 1998 (with Alexander A. Schuessler).
      45. “Overtime Inference in Cross Sectional Surveys.” Presented at California Insti-
          tute of Technology, November 7, 1997.
      46. “Overtime Inference in Cross Sectional Surveys.” Presented at UCLA, October
          8, 1997.
      47. “Ecological Inference in Cross Sectional Surveys.” Presented at the Annual
          Meetings of the APSA, Washington, D.C., August 1997 (with Alexander A.
          Schuessler).
      48. “Governance in a Multinational World.” Presented at the Workshop on Global
          and Regional Governance, Institute of Global Conflict and Cooperation, UC
          San Diego, May 1997.
      49. “The Strategic Design of Trade Policy Outcomes: The Politics of Section 301.”
          Presented at the Annual Meetings of the APSA, San Francisco, August 1996
          (with Susanne Lohmann).
      50. “Polarization and Political Violence.” Presented at the Summer Methods Con-
          ference, Ann Arbor, Michigan, July 1996 (with Patrick Asea).
      51. “How Trade–Related are Intellectual Property Rights?” Presented at the In-
          ternational Economics Workshop, UCLA, April 3, 1996.



    4/11/2024                                                                Page 22 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 37 of 50 PageID #: 33449




      52. “The Politics of Section 301: Institutional Design and Policy Outcomes.” Pre-
          sented at the Annual Meetings of the International Studies Association, San
          Diego, March 1996 (with Susanne Lohmann).
      53. “Military Spending in India.” Presented at the Conference on Security in South
          Asia, Jawaharlal Nehru University, New Delhi, January 1996.
      54. “Patents, Trade, and Foreign Direct Investment.” Presented at the Annual
          Meetings of the Allied Social Science Associations, San Francisco, January 1996
          (with Keith E. Maskus).
      55. “Forecasting the Collapse of the Soviet Union.” Presented at the Annual Meet-
          ings of the Peace Science Society International, Urbana–Champaign, November
          1994 (with Michael D. Ward).
      56. “Trade and Market Openness.” Presented at the International Colloquium on
          Defining a New Partnership Between North America and Europe, Institute of
          Behavioral Science, Boulder, July 1994.
      57. “Guns and Growth Around the World.” Presented at the Annual Meetings
          of the International Studies Association, Washington, D.C., March 1994 (with
          Michael D. Ward).
      58. “Trade and Patents: An Empirical Study.” Presented at the National Bureau
          of Economic Research Universities Research Conference on International Trade
          Rules and Institutions, Cambridge, December 1993 (with Keith E. Maskus).
      59. “The Trade Crises That Never Happened.” Presented at the 6th Hispanic
          Symposium on Business and the Economy, Boulder, October 1992 (with Barry
          W. Poulson).
      60. “Export Orientation and Economic Growth: Stylized Facts for Select Develop-
          ing Countries.” Presented at the Annual Meetings of the International Studies
          Association, Atlanta, April 1992 (with David R. Davis).




    4/11/2024                                                                Page 23 of 23
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 38 of 50 PageID #: 33450




                                  Tab 2
Page 1                  Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 39 of 50 PageID #: 33451




                                           List of Materials Considered

    Pleadings and Legal Documents

         1. Plaintiffs’ Motion for a Permanent Injunction and for an Ongoing Royalty, April 12, 2024.

         2. Plaintiffs’ Opening Brief in Support of Motion for a Permanent Injunction and for and Ongoing Royalty, Jazz v. Avadel, April 12, 2024.

         3. Trial Transcript, Jazz v. Avadel, between February 26 and March 1, 2024.

         4. Verdict Form, Jazz v. Avadel, March 4, 2024.



    Depositions

         1. Deposition of Christine S. Meyer, Ph.D., November 20, 2023.

         2. Deposition of Mark Rainey, Ph.D., November 17, 2023.



    Plaintiffs’ Expert Reports

         1. Declaration of Mark Rainey, Ph.D., April 12, 2024.

         2. Declaration of P.J. Honerkamp, April 12, 2024.

         3. Expert Report of Mark Rainey, Ph.D., September 15, 2023.

         4. Reply Expert Report of Mark Rainey, Ph.D., November 1, 2023.

         5. Supplemental Expert Report of Mark Rainey, Ph.D., February 8, 2024.




                                                                    Highly Confidential                                                              Tab 2
Page 2                   Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 40 of 50 PageID #: 33452




    Defendant’s Expert Reports

          1. Expert Report of Christine S. Meyer, Ph.D., October 16, 2023.

          2. Supplemental Expert Report of Christine S. Meyer, Ph.D., February 13, 2024.



    SEC Documents and Earning Call Transcripts

          1. Avadel Pharmaceuticals Plc, Form 10-K for fiscal year ended December 31, 2017.

          2. Avadel Pharmaceuticals Plc, Form 10-K for fiscal year ended December 31, 2018.

          3. Avadel Pharmaceuticals Plc, Form 10-K for fiscal year ended December 31, 2019.

          4. Avadel Pharmaceuticals Plc, Form 10-K for fiscal year ended December 31, 2020.

          5. Avadel Pharmaceuticals Plc, Form 10-K for fiscal year ended December 31, 2021.

          6. Avadel Pharmaceuticals Plc, Form 10-K for fiscal year ended December 31, 2022.

          7. Avadel Pharmaceuticals Plc, Form 10-K for fiscal year ended December 31, 2023.

          8. Avadel Pharmaceuticals Plc, Form 10-Q for the quarterly period ending June 30, 2023.

          9. Avadel Pharmaceuticals Plc, Form 10-Q for the quarterly period ending September 30, 2023.

         10. Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2017.

         11. Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2018.

         12. Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2019.

         13. Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2020.




                                                                    Highly Confidential                     Tab 2
Page 3                   Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 41 of 50 PageID #: 33453




         14. Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2021.

         15. Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2022.

         16. Jazz Pharmaceuticals, Form 10-K for fiscal year ended December 31, 2023.

         17. Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending June 30, 2022.

         18. Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending June 30, 2023.

         19. Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending March 31, 2022.

         20. Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending March 31, 2023.

         21. Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending September 30, 2022.

         22. Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending September 30, 2023.

         23. Jazz Pharmaceuticals Q1 2024 Earnings Call Transcript, May 1, 2024.



    Websites

          1. <www.drugpatentwatch.com>.

          2. <www.fda.gov>.

          3. <www.jazzpharma.com>.



    Books, Articles and Other Information

          1. “Amneal Launches Authorized Generic for Xyrem    ®(sodium oxybate) and Receives FDA Approval for Five Complex Generics in the
             Second Quarter,” Amneal Press Release, July 3, 2023.




                                                                    Highly Confidential                                                      Tab 2
Page 4                   Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 42 of 50 PageID #: 33454




          2. “Avadel Pharmaceuticals Announces Strong LUMRYZ Launch Performance and Provides Preliminary Fourth Quarter and Full Year 2023
             Financial Highlights,” Avadel Press Release, January 8, 2024.

          3. E. M. Kolassa, “Elements of Pharmaceutical Pricing,” Binghamton, NY, The Haworth Press, Inc., 1997, page 106.

          4. “FDA Grants First of its Kind Indication for Chronic Sleep Disorder Treatment” U.S. Food and Drug Administration, August 12, 2021.

          5. “FDA List of Authorized Generic Drugs,” U.S. Food and Drug Administration, April 11, 2024.

          6. Joseph A. DiMasi, “Price Trends for Prescription: Pharmaceuticals: 1995–1999,” A background report prepared for the Department of
             Health and Human Services’ Conference on Pharmaceutical Pricing Practices, Utilization and Costs, Leavey Conference Center, Georgetown
             University (Washington, DC), August 8–9, 2000, pages 5–6.

          7. Lumryz NDA Approval Letter, U.S. Food and Drug Administration, May 1, 2023.

          8. “Lupin Receives Tentative Approval from U.S. FDA for Calcium, Magnesium, Potassium, and Sodium Oxybates Oral Solution,” Lupin
             Limited, October 13, 2023.

          9. Micromedex Red Book.

         10. “Prescription Drugs: Spending, Use, and Prices,” Congressional Budget Office, January 2022.

         11. United States Patent No. 11,147,782.



    Bates Stamped Documents Cited

          1. Authorized Generic Agreement, Jazz and Amneal Pharmaceuticals LLC, October 11, 2018, JPION00470533–JPION00470560.

          2. Authorized Generic Agreement, Jazz and Lupin Ltd., Lupin Pharmaceuticals, Inc., and Lupin Inc., June 12, 2018, JPION00470561
             –JPION00470590.




                                                                      Highly Confidential                                                             Tab 2
Page 5                   Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 43 of 50 PageID #: 33455




          3. Authorized Generic Agreement, Jazz and Par Pharmaceutical, Inc., January 9, 2018, JPION00470591–JPION00470620.

          4. Authorized Generic Agreement, Jazz and Roxane Laboratories, Inc., West-Ward Pharmaceuticals Corp., April 5, 2017, JPION00470654–
             JPION00470694.

          5. “Jazz BASES DTC Report,” ZS Associates Presentation to Jazz, September 17, 2020, JPION00082449.

          6. License Agreement, Jazz and Alkem Laboratories Ltd., October 4, 2023, JPION00525278 –JPION00525294.

          7. License Agreement, Jazz and Amneal Pharmaceuticals LLC, October 11, 2018, JPION00470621–JPION00470636.

          8. License Agreement, Jazz and Lupin Ltd., Lupin Pharmaceuticals, Inc., and Lupin Inc., June 12, 2018, JPION00470637 –JPION00470653.

          9. License Agreement, Jazz and Mallinckrodt plc, Mallinckrodt Inc., Mallinckrodt LLC, June 4, 2018, JPION00470515–JPION00470532.

         10. License Agreement, Jazz and Par Pharmaceutical, Inc., January 9, 2018, JPION00470719–JPION00470733.

         11. License Agreement, Jazz and Roxane Laboratories, Inc., West-Ward Pharmaceuticals Corp., April 5, 2017, JPION00470823–JPION00470838.

         12. License Agreement, Jazz and Sun Pharmaceutical Industries Ltd, Ohm Laboratories Inc., Ranbaxy Inc., May 9, 2016, JPION00470480–
             JPION00470496.




                                                                   Highly Confidential                                                             Tab 2
Page 6                  Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 44 of 50 PageID #: 33456




    Trial Exhibits

         1. DTX-0030                 24. DTX-0690               47. DTX-1673             70. JTX-0129
         2. DTX-0044                 25. DTX-0692               48. DTX-1675             71. JTX-0130
         3. DTX-0050                 26. DTX-0750               49. DTX-1698             72. JTX-0132
         4. DTX-0055                 27. DTX-0875               50. DTX-1707             73. JTX-0133
         5. DTX-0236                 28. DTX-0916               51. JTX-0003             74. JTX-0135
         6. DTX-0246                 29. DTX-1177               52. JTX-0006             75. JTX-0136
         7. DTX-0248                 30. DTX-1232               53. JTX-0009             76. JTX-0137
         8. DTX-0250                 31. DTX-1254               54. JTX-0011             77. JTX-0138
         9. DTX-0262                 32. DTX-1268               55. JTX-0012             78. JTX-0140
         10. DTX-0317                33. DTX-1274               56. JTX-0031             79. JTX-0142
         11. DTX-0410                34. DTX-1321               57. JTX-0059             80. JTX-0147
         12. DTX-0483                35. DTX-1361               58. JTX-0063             81. JTX-0151
         13. DTX-0499                36. DTX-1366               59. JTX-0085             82. JTX-0200
         14. DTX-0564                37. DTX-1367               60. JTX-0086             83. JTX-0202
         15. DTX-0570                38. DTX-1396               61. JTX-0087             84. JTX-0213
         16. DTX-0585                39. DTX-1406               62. JTX-0098             85. JTX-0214
         17. DTX-0638                40. DTX-1412               63. JTX-0101             86. JTX-0221
         18. DTX-0661                41. DTX-1423               64. JTX-0104             87. JTX-0225
         19. DTX-0665                42. DTX-1426               65. JTX-0105             88. JTX-0226
         20. DTX-0667                43. DTX-1454               66. JTX-0112             89. JTX-0227
         21. DTX-0668                44. DTX-1518               67. JTX-0113             90. JTX-0228
         22. DTX-0672                45. DTX-1644               68. JTX-0119             91. JTX-0230
         23. DTX-0675                46. DTX-1645               69. JTX-0122             92. JTX-0236




                                                       Highly Confidential                                 Tab 2
Page 7                  Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 45 of 50 PageID #: 33457




         93. JTX-0237                103. PTX-0109             113. PTX-0618             123. PTX-1955
         94. JTX-0240                104. PTX-0164             114. PTX-0726             124. PTX-1956
         95. JTX-0242                105. PTX-0165             115. PTX-0737             125. PTX-1966
         96. JTX-0246                106. PTX-0266             116. PTX-0906
                                                                                         126. PTX-1977
         97. JTX-0251                107. PTX-0295             117. PTX-0963
                                                                                         127. PTX-2004
         98. JTX-0253                108. PTX-0300             118. PTX-1167
                                                                                         128. PTX-2006
         99. JTX-0259                109. PTX-0312             119. PTX-1174
     100. JTX-0260                   110. PTX-0338             120. PTX-1242             129. PTX-2009

     101. PTX-0060                   111. PTX-0486             121. PTX-1899             130. PTX-2011
     102. PTX-0087                   112. PTX-0614             122. PTX-1901             131. PTX-2016




                                                       Highly Confidential                                 Tab 2
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 46 of 50 PageID #: 33458




                                  Tab 3
                 Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 47 of 50 PageID #: 33459




                           Lumryz, Xyrem, and Xywav Net Revenues
                                                             Q1 2022 - Q4 2023

$350,000,000                                                                                                                             $337,019,000
                                                                                                      $326,564,000
                                                                                                                         $331,633,000

$300,000,000
                                                                           $281,384,000
                                        $269,421,000
                                                          $256,039,000                     $277,761,000

$250,000,000                                                                $247,496,000
                         $247,497,000                       $255,936,000
                                           $235,025,000

$200,000,000
                         $186,080,000                                                      $178,130,000

                                                                                                          $159,769,000
$150,000,000
                                                                                                                          $125,110,000

$100,000,000                                                                                                                           $106,721,000



 $50,000,000
                                                                                                                                        $19,453,000
                                                                                                                         $7,014,000
                                                                                                          $1,496,000
           $0
                   2022 Q1        2022 Q2              2022 Q3    2022 Q4     2023 Q1    2023 Q2                     2023 Q3          2023 Q4
                                                             Lumryz     Xyrem      Xywav
                                                               Sources:
Lumryz: Avadel Pharmaceuticals Plc, Form 10-Q for the quarterly period ending June 30, 2023; Avadel Pharmaceuticals Plc, Form 10-Q for
 the quarterly period ending September 30, 2023, Avadel Pharmaceuticals Plc, Form 10-K For the fiscal year ended December 31, 2023.
Xyrem, Xywav: Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending March 31, 2023; Jazz Pharmaceuticals, Form 10-Q for the
    quarterly period ending June 30, 2023; Jazz Pharmaceuticals, Form 10-Q for the quarterly period ending September 30, 2023; Jazz
                                Pharmaceuticals, Form 10-K for the fiscal year ended December 31, 2023.


                                                                Highly Confidential                                                                Tab 3
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 48 of 50 PageID #: 33460




                                  Tab 4
           Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 49 of 50 PageID #: 33461




                 Xyrem, Xywav, and Lumryz List Prices Per Gram

$120



$100



$80
       Xyrem                                                                   Lumryz

                             Xywav
$60


                                                                                              AWP
$40                                                                                           WAC



$20



 $0




                                                Source:
                                          Micromedex Red Book




                                          Highly Confidential                                       Tab 4
Case 1:21-cv-00691-GBW Document 623 Filed 05/22/24 Page 50 of 50 PageID #: 33462




                                CERTIFICATE OF SERVICE

         The undersigned counsel hereby certifies that true and correct copies of the foregoing

 document were caused to be served on May 13, 2024 on the following counsel in the manner

 indicated below.

                                         VIA EMAIL:

                                     Jack B. Blumenfeld
                                        Jeremy Tigan
                                       Cameron Clark
                        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                  1201 North Market Street
                                   Wilmington, DE 19899
                              jblumenfeld@morrisnichols.com
                                 jtigan@morrisnichols.com
                                 cclark@morrisnichols.com

                                       F. Dominic Cerrito
                                          Eric C. Stops
                                        Evangeline Shih
                                       Andrew S. Chalson
                                         Gabriel P. Brier
                                        Frank C. Calvosa
                                       Catherine T. Mattes
                                         Abigail DeMasi
                     QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                51 Madison Avenue, 22nd Floor
                                     New York, NY 10010
                               nickcerrito@quinnemanuel.com
                                 ericstops@quinnemanuel.com
                            evangelineshih@quinnemanuel.com
                            andrewchalson@quinnemanuel.com
                               gabrielbrier@quinnemanuel.com
                              frankcalvosa@quinnemanuel.com
                            catherinemattes@quinnemanuel.com
                             Abigaildemasi@quinnemanuel.com

                                     Attorneys for Plaintiffs

  Dated: May 13, 2024                                   /s/ Daniel M. Silver
                                                        Daniel M. Silver (#4758)




 ME1 48431672v.1
